    Case: 1:19-cv-01443 Document #: 65 Filed: 06/28/19 Page 1 of 2 PageID #:356




                         IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

SEKIGUCHI CO., LTD.,

        Plaintiff,                                         Case No.: 1:19-cv-1443

   v.                                                      Judge Matthew F. Kennelly

THE PARTNERSHIPS AND UNINCORPORATED                        Magistrate Judge Jeffrey T. Gilbert
ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

        Defendants.

                                   NOTICE OF DISMISSAL

        Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff hereby files this Notice of Voluntary

Dismissal, without prejudice, as to the following Defendant(s) identified on Schedule A of the

Complaint:

                 NO.                                   DEFENDANT
                  18                                   mshobby_com


DATED: June 28, 2019                                 Respectfully submitted,

                                                     /s/ Keith A. Vogt
                                                     Keith A. Vogt (Bar No. 6207971)
                                                     Keith Vogt, Ltd.
                                                     1033 South Blvd., Suite 200
                                                     Oak Park, Illinois 60302
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                                                     E-mail: keith@vogtip.com

                                                     ATTORNEY FOR PLAINTIFF
    Case: 1:19-cv-01443 Document #: 65 Filed: 06/28/19 Page 2 of 2 PageID #:356




                                 CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true and correct copy of the above and foregoing
document was electronically filed on June 28, 2019 with the Clerk of the Court using the CM/ECF
system, which will automatically send an email notification of such filing to all registered attorneys
of record.

                                                      /s/ Keith A. Vogt
                                                      Keith A. Vogt
